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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


In re Search Warrant dated November 5, 2021,                                   ORDER


ANALISA TORRES, District Judge:

        In their letter dated November 10, 2021, Petitioners’ attorneys represented to the Court that
the Goverment had volunteered to “stop its extraction and potential review of [Petitioner] O’Keefe’s
phone after the filing” of Petitioners’ motion. Pet. Mot. at 3. In the Government’s response dated
November 12, 2021, the Government confirms that it paused extraction and review of the contents of
Petitioner O’Keefe’s cellphones and requests an extension of the briefing schedule. The
Government’s request is GRANTED. Accordingly,

       1. By November 19, 2021, the Government shall provide the Court with its response to
          Petitioners’ motion; and
       2. By November 24, 2021, Petitioners shall provide the Court with their reply, if any.

       The Clerk of Court is directed to open a miscellaneous case.

       SO ORDERED.

Dated: November 12, 2021
       New York, New York
